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  &RXUW,IWKHILOLQJIHHZDVQRWSDLGZKHQWKHQRWLFHRIDSSHDOZDVILOHGLWPXVWEHSDLGWRWKH
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                                   $SSHDUDQFHRI&RXQVHO
                     $SSHOODQW &LYLO$SSHDO6WDWHPHQWRI3DUWLHV	,VVXHV
                              
                                 'LVFORVXUHRI&RUSRUDWH$IILOLDWLRQV
                                   $SSOLFDWLRQIRU$GPLVVLRQWRWK&LUFXLW%DULIDSSOLFDEOH
                             
                                   $SSHDUDQFHRI&RXQVHO
                   $SSHOOHH
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  ILOHGRUQHFHVVDU\IHHVSDLGWKHDSSHDOZLOOEHGLVPLVVHGIRUZDQWRISURVHFXWLRQ,I\RXKDYH
  TXHVWLRQVDIWHUUHYLHZLQJWKHIRUPVDQGWKHUXOHVSOHDVHFRQWDFWWKH&OHUN
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Case 3:16-cv-00138-GNS-RSE Document 160 Filed 01/30/19 Page 3 of 3 PageID #: 4924
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